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                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF KENTUCKY




Case Number: 2:24-cv-00072-DCR-CJS

To: Benjamin Takemoto
United States Department of Justice
Civil Division, Federal Programs Branch
P.O. Box No. 883, Ben Franklin Station
Washington, DC 20044

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        You have filed a pleading in our Court in the above-styled action. Upon searching our
records we cannot locate records indicating your admission to practice in the United States
District Court, Eastern District of Kentucky.

       Local        Rule 83                             of the Joint Local Rules for the
United States Courts of the Eastern and Western Districts of Kentucky sets forth the
procedure for attorney admission.
                Admission to the Bar. An attorney may apply for admission to the Bar of the
                Court pursuant to Local     Rule 83.1                            , a copy of
                which is enclosed with an Application for Admission.

                Pro Hac Vice Admission. The procedure to practice in a particular case or
                admission pro hac vice is set forth in Local      Rule 83.2
                          , a copy of which is also enclosed. A separate motion for each
                attorney is required for admission pro hac vice.

         Please complete the information on the application and mail it to our office or file a
 motion to proceed pro hac vice within 30 days.


        If you can provide documentation to reflect that you have been admitted to practice in
 our Court or if you have any questions, please contact the Clerk's Office.
         Thank you for your assistance in this matter.
        Robert R. Carr, Clerk
              Taylor Boesch
        By:________________________
              Deputy Clerk
